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               Declaration of
               David Rokach
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


ERICSSON INC. AND
TELEFONAKTIEBOLAGET LM ERICSSON,

                Plaintiffs,                        Civil Action No. 2:20-cv-380-JRG

        vs.

SAMSUNG ELECTRONICS CO. LTD.,
SAMSUNG ELECTRONICS AMERICA, INC.,
AND SAMSUNG RESEARCH AMERICA

                Defendants


 DECLARATION OF DAVID ROKACH IN SUPPORT OF SAMSUNG’S OPPOSITION
   TO ERICSSON’S APPLICATION FOR ANTI-INTERFERENCE INJUNCTION
             RELATING TO SAMSUNG’S LAWSUIT IN CHINA

I, David Rokach, declare as follows:

       I am a partner with Kirkland & Ellis LLP (“Kirkland”), counsel for Defendants Samsung

Electronics Co. Ltd., Samsung Electronics America, Inc., and Samsung Research America

(collectively, “Samsung”).     I make this declaration in support of Samsung’s Opposition to

Ericsson’s Application for Anti-Interference Injunction Relating to Samsung’s Lawsuit in China.

Unless otherwise stated, the statements contained in this declaration are based on my personal

knowledge and familiarity with this matter and I could and would testify competently to the matters

set forth herein if called upon to do so.

       1.      Attached as Exhibit 1 is a true and correct copy of Samsung’s complaint, filed on

December 7, 2020 in the Wuhan Intermediate People’s Court of China, and a certified English

translation of the same.
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       2.      Attached as Exhibit 2 is a true and correct copy of Samsung’s evidence list, filed

on December 7, 2020 in the Wuhan Intermediate People’s Court of China (but dated December 4,

2020, when it was originally intended to be filed), and a certified English translation of the same,

as served.

       3.      Attached as Exhibit 3 is a true and correct copy of Samsung’s receipt of payment

of filing fees dated December 7, 2020 in the Wuhan Intermediate People’s Court of China.

       4.      Attached as Exhibit 4 is a true and correct copy of a publicly available article: Team

Counterpoint, China Smartphone Market Share: By Quarter, Counterpoint (Nov. 15, 2020),

available at https://www.counterpointresearch.com/china-smartphone-share/.

       5.      Attached as Exhibit 5 is a true and correct copy of a publicly available article:

Mohammad Imran, Smartphone Manufacturing in China, Nolasia (last visited Jan. 1, 2021),

available at https://nolasia.net/smartphone-manufacturing-in-china/.

       6.      Attached as Exhibit 6 is a true and correct copy of a publicly available article:

Ericsson strengthens its opposition in China and writes down assets, Ericsson (June 8, 2020),

available     at     https://www.ericsson.com/en/press-releases/2020/6/ericsson-strengthens-its-

position-in-china-and-writes-down-assets.

       7.      Attached as Exhibit 7 is a true and correct copy of a publicly available article:

Managing IP Correspondent, China sees developments in SEP infringement cases, Managing IP

(Sep. 10, 2019), available at https://www.managingip.com/article/b1kbm0xn9n87sh/china-sees-

developments-in-sep-infringement-cases.

       8.      Attached as Exhibit 8 is a true and correct copy of the anti-suit injunction issued by

the Wuhan Intermediate People’s Court of China on December 25, 2020, and a certified English

translation of the same.



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       9.      Attached as Exhibit 9 is a true and correct copy of the Wuhan Intermediate People’s

Court of China Notice of Informing the Members Forming the Collegiate Panel, submitted on

December 11, 2020, and a certified English translation of the same, as served.

       10.     Attached as Exhibit 10 is a true and correct copy of Samsung’s Supplemental

Statement filed on December 21, 2020 with the Wuhan Intermediate People’s Court of China, and

a certified English translation of the same.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and this declaration was executed on January 1, 2021.


                                                     /s/ David Rokach
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                                                    Counsel for Samsung Defendants




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